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Sonoma County
Corrections Master Plan

Chapter Six
Jail Reduction Strategies
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Chapter Six
Jail Reduction Strategies

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Chapter Six
Jail Reduction Strategies

This chapter highlights some of the key recommendations for adoption as
part of a Corrections Master Plan, and provides examples of how these
changes might be expected to impact the jail and the criminal justice
system. The goal is to demonstrate the value of key recommendations in
managing the jail population, and to illustrate the potential of individual
and incremental change.

It should be noted that any calculation of jail bed savings is a somewhat
theoretical exercise. In a system as complex and dynamic as the criminal
justice system, efforts to reduce the impact on the jail do not necessarily
correspond to immediate vacant beds or savings in expenditures.
However, over time, improved system efficiency, the availability of more
jail alternatives, and increased effectiveness can, taken together,
significantly reduce pressures on a detention facility and result in long-
term savings.

Over time, the collective impact of progressive system initiatives should
allow a county to plan lower on the forecast continuum. Mitigation
examples, such as those presented in this chapter, are helpful in
demonstrating the relative impact of different approaches.

This Chapter presents examples of how changes in system efficiency,
program effectiveness, and the availability of detention alternatives can
have a positive impact the Jail, focusing on the following
recommendations: development of an Early Case Resolution program;
establishment of comprehensive Pre-Trial Services; planning for a
Community Corrections Center; the application of Evidence-Based
Practices; and the continued expansion of Drug Court.

I. Introduction

The factors that impact the jail are complex, and overcrowding is a
symptom of the policies and practices of the larger system. The increasing
demands upon jails has been driven more by policy choices than crime
rates,

Policy choices drive demand. Planners working several decades ago
would not have foreseen the policy shifts that have fueled the growth in
incarceration: the clamp-down on drunk-driving, the adoption of
mandatory arrest policies for domestic violence, the ‘get tough’ approach
to drug crimes, and the crack cocaine and then the methamphetamine

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epidemic. Nor could they have anticipated the expansion of mandatory
minimum policies, the adoption of three-strikes-laws, the restriction of
judicial discretion, or the affect on jails of the deinstitutionalization of the
mentally ill.

Sonoma County has been impacted by these policy shifts, as well as others
unique to California: Proposition 36, for example.

Because the factors that impact the jail are complex, a ‘systems approach’
to jail management must be adopted. To best respond to changing
circumstances counties must have good data, proven management tools,
and the flexibility to make modifications as conditions dictate.

In the end, the key to responding to changing system dynamics is a
strategic Jail Master Plan. This includes short-term strategies for
implementing and fine-tuning system changes, and longer-term strategies
for building additional detention and program capacity.

Jail Mitigation Strategies

The jail population is a function of two factors: the number of admissions
and the length of stay. Factors that influence the number of admissions to
jail include: county population, availability of pre-booking alternatives,
pre-trial failure rate, supervision violation rate, and program effectiveness,
The number of police officers on the street also significantly impacts the
number of jail admissions. Recommendations advanced for reducing local
jail admissions include:

Reduce fail Admissions

* Establish comprehensive 24/7 Pre-Trial Services Program:
effective front-end assessment, bail review along with
monitoring, tracking and supervision to reduce pre-trial failure

* Implement procedures associated with reducing pre-trial FTA
rate

* Implement supervision procedures associated with reducing re-
arrest rate

* Develop Day Reporting Center
* Increase use of the issuance of citations in lieu of booking

* Expand Drug Court

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* Develop expanded diversion options for mentally ill including a
receiving center

¢ Strengthen Jail Discharge Planning to reduce the revolving door

* Improve program effectiveness with use of validated risk
instruments

* Improve program effectiveness by targeting higher risk offenders

¢ Improve program effectiveness with more Intensive Outpatient
treatment

* Improve program effectiveness by improving joint case planning

* Improve program effectiveness by developing Centralized Intake
model

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Factors that affect the length of stay in jail include: the availability of pre-trial
release options, case processing times, and sentence alternatives.
Recommendations for reducing length of stay in the local jail include:

Reduce Time in Custody

e Establish Comprehensive 24/7 Pre-Trial Services Program:
Early Screening and subsequent routine jail population review
to expedite release

* Reduce time to pre-trial release

* Reduce pre-trial re-arrest rate

* Institute Early Case Resolution Program

¢ Commit judicial resources to ensure stability in front-end
decision-making, including one or two courts to handle all cases

* Ensure early appointment of counsel

* Establish routine bail review of in-custody pre-trial population
* Provide early pre-trial identification of diversion candidates

* Increase simultaneous resolution of ‘holds’ and new charges

* Review policy for ICE holds

* Streamline Pre-sentence Investigation

* Reassess Inmates in Residential Treatment for step-down to
Intensive Outpatient

« Assess all Inmates for Jail Step-Down options

¢ Plan a Community Corrections Center

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Criminal justice system efficiencies and improvements will reduce
demand on the jail. However, because jails are complex and dynamic
systems, the impact of a single system modification is difficult to quantify.
Moreover, while a county can moderate its jail population growth by
making changes, these improvements can be undermined by shifts in
policies and practices over which it has no control.

For example, the sudden employment of more police officers, or a new
state ‘zero tolerance’ policy for probation violators can reverse gains in
holding down jail population growth. Conversely, new policies (such as
Prop.36), can also render jail forecasts unreliable.

Jail forecasting is also not sensitive to the interactive factors of a complex
system. For example, a successful strategy for reducing the number of
offenders on abscond status can swell caseload size and negatively impact
the jail. Likewise, an Early Case Resolution program would be expected to
significantly reduce the length of time to disposition for target offenses.

No model is sensitive enough to quantify the effect of a single system
change, let alone predict the interactive effects of multiple shifts in policy
and practice.

“Many programs that have become tutegral parts of the local criminal
justice systems, such as those involving release on recognizance,
diversion, and community service, were initially designed to reduce jail
populations. In many instances, jurisdictions assumed that program
implementation would solve the problem of crowding and that specific
programs would serve as panacens to deflate population pressures. Local
research and expertence, however, have revealed the conrplexity of the jail
crowding problem and the futility of expecting one prograin or process to
eliminate the phenomenon of rising jail populations and crowded cells.
Long-term success requires time, patience, anid the attention of the entire
criminal justice community. (BJA, “A Second Look at Alleviating fail
Crowding” ')

Because of the shifting nature of system policies, the influence of
subjective decision-making within the criminal justice system, and the
unpredictable nature of changes in state practices, our recommendations
focus on developing a broad range of local jail population management
strategies. These include: Pre-Trial Services, an Early Case Processing
(ECR) program; a continuum of alternative programs and facilities, strong
diversion and sentencing options; evidence based practices, and the
capacity for comprehensive data collection and analysis. Taken together,

' BJA, “A Second Look at Alleviating Jail Crowding,” 2000, U.S. Dept. of Justice
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these management tools assist a jurisdiction in making optimal use of its
jail beds.

While it is difficult to predict with any certainty how single changes will
impact a county, we can look at the experience of other jurisdictions in an
effort to make inferences about the effect of several key recommendations.

Il. Developing an Early Case Resolution Program

An Early Case Resolution (ECR) Program results in increased system
efficiency and helps reduce jail crowding. It is a central management tool
for the criminal justice system. The program involves early case screening
and timely case resolution. And, it depends on the availability of timely
and accurate information on each case, information best supplied by a
Pre-Trial Services Program.

The benefits of an ECR Program are many and include:

Relieves Crowded Dockets

Reduces Case Processing Times

Reduces Number of Pre-trial Defendants
Reduces Average Length of Stay

Frees up More Time for More Serious Cases
Reduces Jail Impact

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Impact on Jail

An ECR Program results in jail bed day savings through the timely
resolution of cases. Significant reductions in jail impact have been
measured in counties that have adopted this approach.

Orange County, Florida implemented an ECR program in response to jail
crowding in 2003. A series of actions were taken to achieve the timely
processing of inmates, including the assignment of a permanent judge to
conduct First Appearance Hearings. Within a short period of time the
number of inmates processed in First Appearance Hearings increased
from 77 per day to 93 per day. The result was that the Jail’s average daily
population dropped from 4,000 inmates to 3,413 (a 15% reduction). In
2005 the Orange County was honored by the National Association of
Counties with an Innovative Programs award for the effect that their
‘Meaningful First Appearance Program’ had on the Jail. *

* National Association of Counties, NaCo Achievement Award Program, 2005.
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In Sonoma County, a reduction in the overall average length of stay by
just 3 days (from 20 to 17 days) would result in a 15% reduction in the
average datly population of the Jail: 163 fewer jail beds. At an estimated
$120 per bed day, the estimated savings (in jail operating costs alone)
would be $7.1 million.

Small changes in average length of stay (ALOS) can have significant
tinpacts on tre jail. This can be seen in the relative impact of a 3 day
reduction versus a5 day reduction in overall average length of stay:

Reducing the ALOS by 3 days: Saves 163 beds and $7.1 million
Reducing the ALOS by 5 days: Saves 274 beds (ADP) and $12 million

(Remember that estimated bed savings may not translate into actual
reductions in jail population because of the dynantic nature of the systent.)

Lucas County, Ohio, implemented elements of an ECR Program in the
form of a special prosecutors unit dedicated to immediate screening of
felony warrant-less arrests. Prosecutors review the case with the arresting
officer and make an immediate filing decision. As a result about 20% of
cases are either immediately dropped or reduced to misdemeanors.
According to the Lucas County prosecutor, this approach has resulted ina
drop in the jail population. °

Washoe County, Nevada implemented an ECR program that involves a
coordinated effort at early case resolution between the judiciary, public
defender, and district attorneys. Forty-one percent of felony cases are
negotiated within 72 hours of arrest. The offender is released the day that
the case is resolved: through diversion, drug treatment, or another
alternative. This resulted in an early reduction in the jail population by 32
inmates. *

In another example, that involves the back-end of the adjudication
process, King County, Washington expedited the time to final case
dispositions through an accelerated sentencing effort that worked to
decrease the time to prepare the pre-sentence investigation (PSI), This effort
was successful in reducing report completion time by 15 days, which
resulted in a decrease in the average daily jail population by about 70 to 75
inmates. °

Monroe County, New York took a ‘systems approach’ to change that they
credit with postponing the building of additional jail beds. This approach
included the development pre-irial and post-trial alternatives, expediting

7 BIA, 2000, ‘A Second Look at Alleviating Jail Crowding,’ U.S. Dept. of Justice.
* Ibid, (2)

” Thid (2)

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cases, and improving case management. One specific effort involved
expediting the completion of Pre-Sentence Investigations for in-custody cases.
According to the County this effort was successful in reducing PSI
completion time from 4 weeks to 2 weeks, saving 4,319 jail bed days in one

year. °

Other examples of expedited processing include a project in Maricopa
County, Arizona. There, the county focused on expediting the adjudication
of probation/parole violation hearings. This resulted in a 43% reduction in the
average time for case resolution, and an associated decrease in the average
daily population of jail inmates. ’

Benchmarks

To track the progress of the ECR Program, the following indicators can be
tracked:

* Number of cases processed through ECR

* Number of defendants who accept/ decline participation

* Profile: charge type, charge level (felony /misdemeanor), age,
race, gender

* Type of ECR case resolution

* Time from booking to case resolution

¢ Estimated number of bed day savings

III. Establishing Comprehensive Pre-Trial Services

Pre-Trial Programs are an indispensable component of an efficient
criminal justice system. They supply the system with accurate
information about the defendant to inform decision making; support the
early appointment of defense counsel; identify diversion candidates;
monitor pre-trial jail inmates and facilitate bail reviews; and monitor,
track and supervise pre-trial defendants.

Impact on Jail

Jail population size and jail overcrowding has been directly linked to the
hours of operation of Pre-Trial programs: the more coverage the less crowded
the jail. Pre-Trial programs that provide the most extensive coverage have

" Jail Utilization System Team, “Total Quality Management: Comprehensive Community Based
Corrections Program,” Monroe County, NY: Jail Utilization System Team, October 1994.

TBIA, “A Second Look at Alleviating Jail Crowding,” October 2000, U.S. Dept. of Justice Office of
Justice Programs.

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been shown to be the least likely to be located in a jurisdiction with a jail
that exceeds its rated capacity. ®

A well-managed jail is, however, not only associated with access to Pre-
Trial Services, but to the timeliness of those services. It has been shown
that jurisdictions with Pre-Trial programs which interview defendants prior
to the initial court appearance are less likely to have a jail that exceeds its
rated capacity. ”

In addition, the adoption of an objective pre-trial risk assessment is also
linked to jail management. Pre-Trial programs that rely exclusively on
subjective determinations of risk are more than twice as likely to have a
jail that exceeds its rated capacity than those programs that use an
objective risk assessment instrument. ”°

And, the role played by Pre-Trial program staff in the early assignment of
defense counsel has an impact on the jail. According to one study,
defendants who are not represented by an attorney at the initial
appearance are less likely to be released on their own recognizance, and
more likely to have an unaffordable bail set, which contributes to higher
detention rates. "

As another example, Pima County, Arizona put together a Fast-track
Program to monitor the pre-trial jail population by providing routine bail
review for defendants not released at their initial appearance. The
program involved the collection of additional information that could form
the basis for a release plan. Pre-trial staff was given the authority to
schedule bond hearings. In the end, the program has been credited with
reducing the felony pre-trial jail population by 20 percent. '’

Montgomery County, Maryland is another county that found concrete
evidence of the cost-effectiveness of Pre-Trial Services. The result of a
study conducted to measure the program’s impact, concluded that having
comprehensive Pre-Trial Services delayed the building of additional local
jail beds. After the first year of program operation, in the early 1990's, the
county measured drops in average jail days for pre-trial defendants,
reductions in failure-to-appear rates for defendants released on pre-trial

* Clark, John and D, Alan Henry, “Pretrial Services Programming at the Start of the 21" Century: A Survey
of Pretrial Services Programs, “ BJA, July 2003.

” Ibid (7)

" Ibid (7)

"' The Pretrial Reporter, “Maryland Lawsuit Targets Lack of Legal Representation at Bail-Setting
Hearings,” October/November 2006, Volume XXXIE No.5

" Shelby Meyer and Kim Holloway, “The Fastrack Program,” Federal Probation, Vol.57,No.19, March
1993, pp. 36-41.

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supervision (the lowest recorded rate in 5 years), and low re-arrest rates:
all of which had a positive impact on the jail.”

Pre-Trial Programs achieve system cost savings by reducing failure-to-
appear rates. Taking as an example an estimated systent cost of $1346 for
each defendant returned to jailon a FTA warrant (based on figures
derived from a cost analysis conducted by Multnomal: County, Oregon),
Sonoma County's s FTA sare costing the system roughly $2.7 million
dollars per year.

Stull, the assessment of the value of Pre-Trial Services is best understood,
not in isolation, but in crucial role it plays in supporting Early Case
Resolution (by providing defendant information), providing a flexible tool
for assisting in the management of the jail population, and in its
contribution to improving the integrity of the system.

Note: The Master Plan has recommended an investment in Pre-Trial
Services. The funds needed to support a comprehensive program are
dedicated to the hiring of additional staff. The Plan also recommends
adding a staff attorney to the Public Defender and District Attorney's
Office. The Pre-Trial staff positions are needed to provide new services.
For the attorney positions, the argument is that the addition of these two
positions will provide significant savings down the line, but in the
meantime additional dedicated staff are needed to get the program
started.

Benchmarks

* Percent of Defendants Booked, Interviewed by Pre-Trial
* Percent of Cases with Verified Info. at First Appearance
* Percent Appointed Defense Counsel

* Percent recommended for release and court action

* Pre-Trial Release Rate (misdemeanor / felony)

* Pre-Trial Release Type: percent to supervised release

* FTA Rate (by Release Type)

* Percent FTA Cases Returned to Court without Warrant

* Re-arrest Rate (by Release Type

* Sentence Type

' Paxman, Faye S. “Pretrial Services Unit: An Evaluation of First Year Experiences,” Criminal Justice
Coordinating Council, Rockville, Maryland, March 26, 1992.

'* Multnomah County’s cost analysis breakdown: issuing and clearing a warrant, $52; police apprehension,
$198; booking, 5291; one day jail detention, $110; and court hearing, $695). Sonoma’s impact calculated
by taking the number of felony and misdemeanor pre-trial FFA’s in 05/06 (n=1998) x $1346. Cost is
$2,689,308.

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IV. Planning a Community Corrections Center

A Community Corrections Center (CCC) is a minimum-security
residential facility that offers a structured, supervised living environment
as a transition from jail to the community. It provides a lower cost option
to inmates who can serve their sentence in a minimum security setting
while maintaining employment and having the benefit of a range of
programs.

The principal goal is to facilitate a successful transition back to the
community. Individual case plans are designed to address conditions of
supervision, court orders, treatment needs, community safety, victim
restitution, and successful transition back to the community. Issues
addressed include employment, cognitive programming and substance
abuse.

A range of services is offered to address criminal risk. These may include:

* Substance abuse treatment

* Mental health evaluation and services

* Cognitive skills classes

+ Employment testing and job search assistance

* GED and literacy classes

* Life skills: nutrition, parenting, money management, computer
skills

Some Centers, such as the one in Washington County, Oregon provide
longer-term residential treatment to a sub-set of the population. In

Washington County, an intensive 90-day treatment program is offered toa
co-ed population.

Community Corrections Centers can serve a diverse population, and can
also function as a Day Reporting Center. Populations found in these
facilities include:

# Jail inmates in last phase of sentence

2 Prisoners re-entering the community

= Probationers in the CCC ona sanction

« Stabilization for those in Drug Court or other treatment
programs

Individualized plans are based on the risk and needs of the offender and
the anticipated length of stay at the Center. For residents with short stays
(less than a couple of weeks) the principal goal is to connect them to
treatment prior to release. For those with longer stays the goal is to work

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with the resident to find employment, engage in treatment, and move into
drug and alcohol free housing upon exit.

Community Corrections Centers can be managed by different agencies. In
a Probation model, the CCC is staffed by Corrections Specialists. In either
model staff has the responsibility for monitoring the security of the
facility, conducting urinalysis tests, and tracking the daily plans of the
residents. Residential counselors work with residents to develop
individualized plans for services.

Impact on fail

Community Corrections Centers have demonstrated good outcomes. In
Washington County, Oregon, a 215 bed CCC serves a diverse population
including: inmates transitioning from jail, short-term stabilization, direct
sanctions, and re-entry from prison. The overall success rate, measured
by successful completion, is 84%. Of the 16% who are unsuccessful, only
1% of the failure is for the commission of a new crime. As another
indicator of success for this particular program, the Washington County
CCC houses a residential treatment program for approximately 30
residents, which has been evaluated and ranked in the top 8% of
programs nationwide for adherence to evidence based practices. °

Another way to look at savings associated with a Community Corrections
Center (CCC) is to compare construction costs with a jail. By definition, a
CCC is a minimum-security facility that has dormitory style housing. It is
estimated that building costs for a CCC are one-third less than those of a
jail.” Moreover, the operating costs are less: In Washington County,
Oregon the per-day cost of operating the CCC is, at $55 per day, half of
the per-day jail cost of $109.46. ””

Community Corrections Center, Day Reporting, and the programs
associated with them have a good track record.

In Hampden County, Massachusetts, a Pre-Release Facility serves inmates
who are within six months of release. Inmates reside at the Facility but
work in the community. In a move to reduce jail crowding even more a
Day Reporting component was added. This program serves offenders
serving shorter sentences, pre-trial defendants released with a condition to
report, and also functions as a step-down from Pre-release. Not only has
the program saved jail beds for those who need them most and reduced
the costs of holding inmates, but they have found that individuals who

Is Washington County Community Corrections, Biennium Plan 2005-2007.

'® Estimate given by Rosser International. 9-19-07.

'? Fhe Washington County CCC per day rate for the small number of residents involved in the in-house
residential treatment, is $371 per day. (John Hartner, Community Corrections Director, Sept. 2007)
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earn the opportunity to participate in these programs have an improved
chance of successful community re-entry.

In Davidson County, Tennessee, the Sheriff sought grant funds to start a
Day Reporting Center in a move to alleviate jail overcrowding. The
program, designed for non-violent offenders, provides a program rich
environment in order to “give someone an option to turn his or her life
around in a positive manners,” says the Sheriff. The program has been
judged a success by the county, with a per diem rate one-third of the jail
and residents actively completing program. "”

In Connecticut, The Office of Alternative Sanctions was established with
the state’s judicial branch to expand alternative programs. Day Reporting
Centers were developed as part of this approach. These Centers are
designed as community-based alternatives to jail for defendants with
more serious offenses, who need more structure than straight probation.
Participants report to these Centers during the day and are under house
arrest at night. It is estimated that this program saves Connecticut 700 jail
beds each year. ”

Many Community Corrections Centers also rely on community service
and other community-based programs. Salt Lake County, Utah credits the
expansion of alternative to jail programs, such as community service, as the
principal factor in forestalling jail population increases. They report a
significant reduction in the number of defendants serving jail time since
the programs began. 7

Sometimes special populations are targeted for community alternative
programs. Quincy, Massachusetts started an alterative to jail program for
first and second time DWI offenders. The program relies on treatment
and probation stipervision instead of incarceration. The program is
reported to be an effective jail population control measure while yielding
good rehabilitation success rates, *

For Sonoma County, the ability to consider meeting projected jatl
demands with a mix of CCC and Jail beds represents a significant cost
savings. LUlsing ballpark Jail/CCC per- bed construction costs for an
additional 700 beds illustrates the difference in costs. As an example,
building half CCC beds and half Jail beds to meet the need (vs. only

'§ Richard MeCarthy, “The Hampden County Day Reporting Center: Three Years’ Success in Supervising
Sentenced Individuals in the Community,” Hampden County, Massachusetts, Sheriffs Department.
“Davidson County’s Day Reporting Center: An Effective Alternative,” Large Jail Network Bulletin,
2000.

*” Justice Education Center, Inc. “Longitudinal Study: Alternatives to Incarceration Sentencing Evaluation,
Year 3.” Hartford, CT: Justice Education Center, Inc September 1996.

*" Tbid (2)

** Fbid (2)

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